   Case 20-10782-JDW        Doc 6 Filed 03/09/20       Entered 03/09/20 14:40:17    Desc Order
                                 Dismissing Case       Page 1 of 1
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                                                                                    (Rev. 01/03/17)

                           UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF MISSISSIPPI

In Re: Kelly L. Linville                        )                Case No.: 20−10782−JDW
       Debtor(s)                                )                Chapter: 13
                                                )                Judge: Jason D. Woodard
                                                )
                                                )


ORDER OF DISMISSAL FOR FAILURE TO TIMELY FILE DOCUMENTS OR TO PAY
                          REQUIRED FEES
       WHEREAS, the required schedules, financial disclosure statements or other documents or
required fees necessary for the administration of this case have not been timely filed or paid
within the time limits prescribed by Fed. R. Bankr. P. 1006, 1007 and 2016(b), or required by 28
U.S.C., Sec. 1930(a) and/or 1930(b), notwithstanding the fact that the Court provided a written
order and notice to the debtor and the debtor's attorney, if any, promptly after the filing and/or
conversion of this case that failure to timely file such paperwork or pay such fees would result in
the dismissal of this case by the Court; it is
       ORDERED that the above entitled case be and the same is hereby dismissed without
prejudice; and it is further
       ORDERED that notice of the entry of this dismissal order shall be given by the Clerk of
this Court in the manner prescribed in Fed. R. Bankr. P. 1017 and 2002(f).
Dated and Entered: 3/9/20
                                                    Jason D. Woodard
                                                    Judge, U.S. Bankruptcy Court
